                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

ALAN BRENT WILKINS          )
               Plaintiff,   )
                            )
v.                          )                         JUDGMENT
                            )                         No. 5:23-CV-655-FL
CONSOLIDATED COMMUNICATIONS )
HOLDINGS, INC.              )
               Defendant    )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of the defendant’s motion for summary judgment.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
March 14, 2025 and for the reasons set forth more specifically therein, it is ordered that defendant’s
motion for summary judgment is GRANTED.

This judgment Filed and Entered on March 14, 2025, and Copies To:
Bijan Ghom / Cody Stevens Deckert / Raymond Earl Dunn, Jr. (via CM/ECF Notice of
Electronic Filing)
William J. McMahon, IV / Nia Doaks (via CM/ECF Notice of Electronic Filing)

March 14, 2025                         PETER A. MOORE, JR., CLERK

                                         /s/ Sandra K. Collins
                                       (By) Sandra K. Collins, Deputy Clerk




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